Case 5:05-cr-00012-GEC-BWC   Document 65    Filed 08/10/05   Page 1 of 10
                             Pageid#: 187
Case 5:05-cr-00012-GEC-BWC   Document 65    Filed 08/10/05   Page 2 of 10
                             Pageid#: 188
Case 5:05-cr-00012-GEC-BWC   Document 65    Filed 08/10/05   Page 3 of 10
                             Pageid#: 189
Case 5:05-cr-00012-GEC-BWC   Document 65    Filed 08/10/05   Page 4 of 10
                             Pageid#: 190
Case 5:05-cr-00012-GEC-BWC   Document 65    Filed 08/10/05   Page 5 of 10
                             Pageid#: 191
Case 5:05-cr-00012-GEC-BWC   Document 65    Filed 08/10/05   Page 6 of 10
                             Pageid#: 192
Case 5:05-cr-00012-GEC-BWC   Document 65    Filed 08/10/05   Page 7 of 10
                             Pageid#: 193
Case 5:05-cr-00012-GEC-BWC   Document 65    Filed 08/10/05   Page 8 of 10
                             Pageid#: 194
Case 5:05-cr-00012-GEC-BWC   Document 65    Filed 08/10/05   Page 9 of 10
                             Pageid#: 195
Case 5:05-cr-00012-GEC-BWC   Document 65    Filed 08/10/05   Page 10 of 10
                             Pageid#: 196
